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 1 Thomas H. Bienert, Jr., State Bar No. 135311
   tbienert@bienertkatzman.com
 2 Ariana Seldman Hawbecker, State Bar No. 190506
 3 ahawbecker@bienertkatzman.com
   Ali Matin, State Bar No. 268452
 4 amatin@bienertkatzman.com
 5 BIENERT | KATZMAN PC
   903 Calle Amanecer, Suite 350
 6 San Clemente, California 92673
   Telephone (949) 369-3700
 7 Facsimile (949) 369-3701
 8
   Attorneys for Defendants
 9 Carey G. Howe, Ruddy Palacios,
   and Shunmin Hsu
10
11
12                        IN THE UNITED STATES DISTRICT COURT
13                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
       FEDERAL TRADE COMMISSION,                 Case No. SACV 19-02109 JVS (ADSx)
15
16          Plaintiff,                           Assigned to Hon. James V. Selna
                                                 Courtroom 10C
17
       v.
18                                               SUPPLEMENTAL DECLARATION OF
       AMERICAN FINANCIAL SUPPORT                RUDDY PALACIOS RE FTC’S
19                                               NOVEMBER 18, 2019
       SERVICES INC., et al.,
20                                               MISSTATEMENT CONCERNING
            Defendants.                          ARETE’S ACCESS TO
21                                               APPROXIMATELY $5.3 MILLION IN
22                                               DEBT PAY GATEWAY FUNDS

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                   SUPPLEMENTAL DECLARATION OF RUDDY PALACIOS
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 1                          DECLARATION OF RUDDY PALACIOS
 2          I, Ruddy Palacios, declare and state as follows:
 3          1.    I am a managing member and C.O.O. at Arete Financial Group LLC (“Arete”).
 4 I have personal knowledge of the facts set forth in this declaration and if called as a witness
 5 could and would competently testify to such matters.
 6          2.    I was in Court on November 18, 2019 when the FTC’s lawyers claimed that
 7 approximately $5.3 million in funds in Debt Pay Gateway, if released, would be all sent to
 8 Arete to do with it what they please. This statement is inaccurate. That money would be
 9 handled as I explained in Paragraph 5 of my declaration dated November 13, 2019.
10          I declare under penalty of perjury under the laws of the United States that the
11 foregoing is true and correct.
12          Executed the 19th day of November 2019 at Lake Forest, California.
13
14                                                 /s/ Ruddy Palacios
                                                  ___________________________________
                                                  Ruddy Palacios
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                   SUPPLEMENTAL DECLARATION OF RUDDY PALACIOS
     Case 8:19-cv-02109-JVS-ADS Document 70 Filed 11/19/19 Page 3 of 3 Page ID #:3352



 1                                    CERTIFICATE OF SERVICE
 2           I declare that I am a citizen of the United States and am employed in Orange County,
 3 California; my business address is 903 Calle Amanecer, Suite 350, San Clemente,
 4 California 92673; I am over the age of 18 and not a party to the above-entitled action. I am
 5 employed by a member of the United States District Court, and at whose direction I caused
 6 service of the following document on all parties in this action via the method of service
 7 described below.
 8        • SUPPLEMENTAL DECLARATION OF RUDDY PALACIOS RE FTC’S
            NOVEMBER 18, 2019 MISSTATEMENT CONCERNING ARETE’S ACCESS TO
 9
            APPROXIMATELY $5.3 MILLION IN DEBT PAY GATEWAY FUNDS
10
   [X] BY ELECTRONIC TRANSMISSION: by electronically filing the foregoing with
11
       the Clerk of the District Court using its CM/ECF System pursuant to the Electronic
12     Case Filing provision of the United States District Court General Order and the E-
       Government Act of 2002, which electronically notifies said parties in this case:
13
14      Stephen Fairchild                            Robert Quigley
        Richard McKewen                              Federal Trade Commission
15      Federal Trade Commission                     10990 Wilshire Blvd, Suite 400
        915 2nd Avenue, Suite 2896                   Los Angeles, CA 90024
16      Seattle, WA 98174                            rquigley@ftc.gov
17      sfairchild@ftc.gov
        rmckewen@ftc.gov
18
        Thomas McNamara
19      Edward Chang
        Sanjay Bhandari
20      McNamara Smith LLP
21      655 W. Broadway, Suite 1600
        San Diego, CA 92101
22      echang@mcnamarallp.com
        sbhandari@mcnamarallp.com
23
24           I declare under penalty of perjury under the laws of the United States of America that
25 the foregoing is true and correct. Executed on November 19, 2019, at San Clemente,
26 California.
27                                                     ______________________
28                                                      Garrison M. Giali


                     SUPPLEMENTAL DECLARATION OF RUDDY PALACIOS
